Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 1 of 13 Page ID #:5
Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 2 of 13 Page ID #:6
Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 3 of 13 Page ID #:7
Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 4 of 13 Page ID #:8
Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 5 of 13 Page ID #:9
Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 6 of 13 Page ID #:10
Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 7 of 13 Page ID #:11
Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 8 of 13 Page ID #:12
Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 9 of 13 Page ID #:13
Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 10 of 13 Page ID #:14
Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 11 of 13 Page ID #:15
Case 5:12-cv-01204-OP Document 1 Filed 07/19/12 Page 12 of 13 Page ID #:16
                     Case 5:12-cv-01204-OP  Document
                             UNITED STATES DISTRICT   1 Filed
                                                    COURT,    07/19/12
                                                           CENTRAL     PageOF
                                                                   DISTRICT 13CALIFORNIA
                                                                               of 13 Page ID #:17
                                                                                 CIVIL COVER SHEET


VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed?                   No       Yes
If yes, list case number(s):

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case?                 No       Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply)    A. Arise from the same or closely related transactions, happenings, or events; or
                                B. Call for determination of the same or substantially related or similar questions of law and fact; or
                                C. For other reasons would entail substantial duplication of labor if heard by different judges; or
                                D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
    Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).
 County in this District:*                                                                  California County outside of this District; State, if other than California; or Foreign Country

County of Riverside



(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
    Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).
 County in this District:*                                                                  California County outside of this District; State, if other than California; or Foreign Country

                                                                                           State of Maryland



(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
    Note: In land condemnation cases, use the location of the tract of land involved.
 County in this District:*                                                                  California County outside of this District; State, if other than California; or Foreign Country

County of Riverside



* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land involved                                                                                                              .

X. SIGNATURE OF ATTORNEY (OR PRO PER):                                                                                  Date

     Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
     or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
     but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases:
               Nature of Suit Code       Abbreviation         Substantive Statement of Cause of Action


               861                       HIA                  All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
                                                              Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
                                                              program. (42 U.S.C. 1935FF(b))

               862                       BL                   All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
                                                              (30 U.S.C. 923)

              863                        DIWC                 All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
                                                              amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

              863                        DIWW                 All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
                                                              Act, as amended. (42 U.S.C. 405(g))

              864                        SSID                 All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
                                                              Act, as amended.

              865                        RSI                  All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
                                                              U.S.C. (g))


CV-71 (05/08)                                                                    CIVIL COVER SHEET                                                                                  Page 2 of 2
